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                             UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA
                                    Alexandria Division


    UNITED STATES, et al.,

                                 Plaintiffs,
                                                       No. 1:23-cv-00108-LMB-JFA
                   v.

    GOOGLE LLC,

                                 Defendant.

                         NON-PARTY MARS, INC.’S MOTION TO SEAL

         Pursuant to Local Civil Rule 5(C) and the Court’s pretrial scheduling order dated June

  24, 2024 (ECF No. 871), non-party Mars, Inc. (“Mars”), by undersigned counsel, respectfully

  moves this Court for an order granting Mars’ motion to seal trial exhibit DOJ_MARS_0000570.

  This motion is made on the grounds set forth in the accompanying Memorandum in Support of

  Non-Party Mars, Inc’s Motion to Seal.



  Dated: July 26, 2024                               Respectfully submitted,


                                                     /s/ Tara Reinhart
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